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                                    UNITED STATES DISTRICT COURT
                                      DISTRICT OF CONNECTICUT

    RASHAD WILLIAMS

                                      Plaintiff,                     Case No.: 3:13-cv-01154-MPS

                     v.

    PETER MURPHY, ET AL.,

                                      Defendants.                    AUGUST 9, 2021


       MOTION TO WITHDRAW AND SUPPORTING MEMORANDUM OF LAW BY
              ATTORNEYS J. TYLER BUTTS AND LINDA L. MORKAN

           Pursuant to Local Rule of Civil Procedure 7(e), attorneys J. Tyler Butts and Linda L.

Morkan (collectively, “Counsel”) respectfully request that they be permitted to withdraw their

appearance of the plaintiff, Rashad Williams, in this matter. In support of the request, Counsel

states as follows:

           Prior to Counsel’s appearance, Mr. Williams had successfully prosecuted, through a jury

trial, a 42 U.S.C. § 1983 action against defendant Dennis Marinelli. Counsel appeared on Mr.

Williams’s behalf on July 5, 2017 (ECF Nos. 229-30)1 in connection with Mr. Williams’s efforts

to protect the State of Connecticut from improperly seizing a large portion of that resulting

judgment in connection with a cost of incarceration lien and, later, a claim for recoupment of

public defender fees. This dispute was the subject of the Court’s March 29, 2018 Ruling on

Motions for Aid of Judgment and Release of Funds. (ECF No. 280). That ruling was affirmed by

the Second Circuit on February 4, 2021. Williams v. Marinelli, 987 F.3d 188 (2d Cir. 2021). At

this point, all that remains is for defendant Marinelli to pay Mr. Williams the remainder of the

judgment entered against him. As set forth in Mr. Williams’s May 20, 2021 Motion to Compel


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    Counsel are representing Mr. Williams on a pro se basis. Counsel were not Court-appointed.
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and Produce, Mr. Marinelli has, to-date, failed to respond to Mr. Williams’s post-judgment

discovery. (ECF No. 306).

       As set forth in Mr. Williams’s May 28, 2021 Motion to Dismiss Counsel (ECF No. 307),

Mr. Williams has indicated a desire to proceed without Counsel. Specifically, Mr. Williams

requests that the Court “sever the attorney/client relationship” between himself and Counsel.

Counsel has no objection to that request.

       For the reasons set forth above, Counsel respectfully request that the Court grant their

motion to withdraw.




 Respectfully submitted,                            By:     /s/ J. Tyler Butts
                                                    Linda L. Morkan (ct03196)
                                                    J. Tyler Butts (ct28641)
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                                       CERTIFICATION

       I hereby certify that on August 9, 2021 a copy of the foregoing was filed electronically and

served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by

email to all parties by operation of the Court’s electronic filing system or by mail on anyone unable

to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this

filing through the Court’s CM/ECF System.



                                                     By:   /s/ J. Tyler Butts
                                                           J. Tyler Butts




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